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 BioMarin Pharmaceutical Inc. and
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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY


 BIOMARIN PHARMACEUTICAL INC.                         Civil Action No. 22-2345 (MAS)(TJB)
 and MERCK & CIE,
                                                      NOTICE OF DISMISSAL
                       Plaintiffs,
                                                      (Filed Electronically)
        v.

 AUROBINDO PHARMACEUTICALS
 LTD. and AUROBINDO PHARMA USA,
 INC.,

                       Defendants.



                    NOTICE OF DISMISSAL, WITHOUT PREJUDICE

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, BioMarin

Pharmaceutical Inc. and Merck & Cie (“Plaintiffs”) hereby dismiss all claims asserted in this

action, without prejudice. At the time of filing this Notice of Dismissal, Defendants have not

served an Answer or Motion for Summary Judgment in this matter.
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 Dated: June 23, 2022                By: s/ Charles M. Lizza
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